                                                    Entered on Docket
                                                    September 12, 2018
                                                    EDWARD J. EMMONS, CLERK
                                                    U.S. BANKRUPTCY COURT
                                                    NORTHERN DISTRICT OF CALIFORNIA

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6                                                 ________________________________________
     Attorney for Movant                           HANNAH L. BLUMENSTIEL
7    U.S. Bank Trust N.A. as Trustee of the        U.S. Bankruptcy Judge
     Igloo Series III Trust, its successors and assigns
8
9
                               UNITED STATES BANKRUPTCY COURT
10
                   NORTHERN DISTRICT OF CALIFORNIA-SAN JOSE DIVISION
11
12   In Re:                                               )    CASE NO.: 13-54453
                                                          )
13   Kent Brian Zilliox,                                  )    CHAPTER 13
                                                          )
14
              Debtor.                                     )    RS No.: MRG-1
15                                                        )
                                                          )    ORDER RE: MOTION FOR
16                                                        )    RELIEF FROM THE
                                                          )    AUTOMATIC STAY
17
                                                          )
18                                                        )    Date: September 5, 2018
                                                          )    Time: 11:30 AM
19                                                        )
20                                                        )    Place: US Bankruptcy Court
                                                          )           1000 S Main, Room 214
21                                                        )           San Jose CA 95113
                                                          )
22                                                        )    Judge: Hannah L. Blumenstiel
23                                                        )
                                                          )
24                                                        )
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26
              The motion of U.S. Bank Trust N.A. as Trustee of the Igloo Series III Trust, its
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     successors and/or assignees, relief from the automatic stay was granted by docket text order
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 Case: 13-54453         Doc# 45     Filed: 09/12/18       Entered: 09/12/18 11:51:59
                                                                            Order on MotionPage     1 of 3
                                                                                            for Relief
1    on August 27, 2018, by the Honorable Hannah L. Blumenstiel.
2           Upon reading the papers and pleadings on file herein, and based on the evidence
3    presented, the Court fules as follows:
4           IT IS HEREBY ORDERED that the automatic stay provisions of 11 U.S.C. §362 be
5    and are hereby terminated with respect to the interests of U.S. Bank Trust N.A. as Trustee of
6
     the Igloo Series III Trust, its successors and/or assignees, in the real property commonly
7
     known as 4A Buena Vista Del Rio, Carmel Valley, CA 93924.
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            IT IS FURTHER ORDERED that U.S. Bank Trust N.A. as Trustee of the Igloo Series
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     III Trust, its successors and/or assignees, may complete its foreclosure of said real property
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     and proceed with post-foreclosure remedies, including any unlawful detainer action, in
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     accordance with applicable law.
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            IT IS FURTHER ORDERED that the fourteen day stay described in Bankruptcy Rule
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     4001(a)(3) is waived upon relief.
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                                         **END OF ORDER**
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 Case: 13-54453       Doc# 45      Filed: 09/12/18       Entered: 09/12/18 11:51:59
                                                                           Order on MotionPage     2 of 3
                                                                                           for Relief
1                               COURT SERVICE LIST
2    None
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 Case: 13-54453   Doc# 45   Filed: 09/12/18       Entered: 09/12/18 11:51:59
                                                                    Order on MotionPage     3 of 3
                                                                                    for Relief
